Case 2:02-cr-20215-BBD Document 80 Filed 06/21/05 Page 1 of 2 Page|D 75

l`lf. ` ` F-, ,»,
UNITED sTATEs I)ISTRICT CoURT " ' - ?m/`W
wEsTERN DISTRICT oF TENNESSEE 95 J,W 2, §H 8_
Western Division ` "" ’ 149
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UNITED STATES OF AMERICA

-vs- Case No. 2:02cr20215-1-D

ERIC DORMAYER

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govennnent, it is ORDERED that a detention/probable cause hearing
is set for THURSDAY, JUNE 23, 2005 at 2:45 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9“‘ Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: June 20, 2005 md

" TU M. PHAM
UNITED sTATEs MAGISTRATE IUDGE

 

 

'If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142($(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(D are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 {8/85) Order of Terrporary Detentlon

'h‘is document entered on the docket sheet in compliance

vith Ru|e 55 and/or 32(':)) FFlCrP on M_ n FO

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:02-CR-20215 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

PDA

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Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

